 Joanne Parsons Underhill, in her official capacity as Personal Representative for the Estate of James C. Underhill, Jr. and Neighborhood Law Office, P.C., Petitioners  v.  Tina Carver and Brian Carver, Respondents No. 22SC381Supreme Court of Colorado, En BancJanuary 17, 2023
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 20CA1294
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    
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